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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1299V
                                        UNPUBLISHED


    ARLYN HALPERN,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: May 7, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

      On August 27, 2019, Arlyn Halpern filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on October 12,
2018. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On May 6, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1, 3.
Specifically, Respondent agrees that “petitioner’s claim meets the Table criteria for

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  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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SIRVA. Specifically, petitioner had no history of pain, inflammation, or dysfunction of the
affected shoulder prior to intramuscular vaccine administration that would explain the
alleged signs, symptoms, examination findings, and/or diagnostic studies occurring after
vaccine injection; she more likely than not suffered the onset of pain within forty-eight
hours of vaccine administration; her pain and reduced range of motion were limited to the
shoulder in which the intramuscular vaccine was administered; and there is no other
condition or abnormality present that would explain petitioner’s symptoms . . . . Therefore,
petitioner is entitled to a presumption of vaccine causation.” Id. at 3. Respondent further
agrees that “the records show that the case was timely filed, that the vaccine was received
in the United States, and that petitioner satisfies the statutory severity requirement by
suffering the residual effects or complications of her injury for more than six months,” and
Petitioner avers that she has not filed a civil action or received compensation in the form
or an award or settlement for her vaccine-related injury. Id. at 3-4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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